           Case 1:19-cr-00156-SPW Document 69 Filed 10/02/20 Page 1 of 1




               IN THE UNITED STATES DISTRICT COURT


                      FOR THE DISTRICT OF MONTANA



THE STATE OF MONTANA


               vs.



Nicholas Dale Jennings                                 No. CR I9-I56-BLG-SPW-1

DOB: 1984                                                   PETITION TO OPEN
                                                            JUVENILE/SEALED RECORDS
SSN: XXX-XX-3818


Whereas the above-name defendant entered a plea of GUILTY to Prohibited Person in
Possession ofa Firearm and District Court .Judge Susan P. Watters having ordered a Pre-
Sentence Investigation into the Defendant's background, the Petitioner requests all juvenile or
sealed records pertaining to the Defendant, including Court documents, Law Enforcement,
Juvenile Court Services, County Probation, County Welfare, Department of Institution records,
medical and institutional treatment records and Department of Institutions records, be made
available.



                                                     U.S. Probation Officer



                                                     Date     10/02/2020

                                       **********


                                            ORDER
                                       **********




The Court having considered the aforementioned petition; does hereby order the release of
pertinent juvenile records, including sealed records, held by any Court, Law Enforcement,
Juvenile Court Services, County Probation, County Welfare, medical and institutional treatment
records. Department of Institutions records or agency of the Adult/Juvenile Probation and Parole
Officer.



                                                     U.S. District Judge


Dated this           day of               , 2020.
